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 7                       UNITED STATES BANKRUPTCY COURT
 8
                    EASTERN DISTRICT OF WASHINGTON AT SPOKANE

 9   In re                                            No. 19-01492-FPC11
10
     TAMARACK AEROSPACE GROUP,                        Chapter 11
11   INC.,
12                                                    FIRST AMENDED PLAN OF
                        Debtor.                       REORGANIZATION
13

14   Proponent:
        • Tamarack Aerospace Group, Inc.,
15        Debtor-in-Possession
16
     Dated: December 31, 2019.
17   Confirmation Hearing Date: February 25, 2019
18

19   Prepared by:
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22   Spokane, WA 99218
     Attorney for Tamarack Aerospace Group,
23   Inc.
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 1                                    I.       INTRODUCTION
 2          This First Amended Plan of Reorganization modifies and supersedes for all
 3   purposes the prior Plan of Reorganization filed in this proceeding on September 23,
 4   2019 (ECF No. 108). The First Amended Plan (the “Plan”) is proposed by Tamarack
 5   Aerospace Group, Inc., a Washington corporation as the Debtor-in-Possession in the
 6   Chapter 11 Case (the “Debtor” or “Tamarack”). Tamarack is the proponent of the
 7   Plan within the meaning of section 1129 of the Bankruptcy Code.
 8          Through submission of the Plan, the proponent seeks to put into place a
 9   mechanism through which this bankruptcy proceeding will achieve finality. The Plan
10   is submitted pursuant to section 1129(a) of the Bankruptcy Code and Bankruptcy
11   Rules 3016 and 3018.            The Plan proposes a reorganization of Tamarack and
12   distribution to creditors in accordance with priorities set forth in the Plan and
13   consistent with the requirements of the Bankruptcy Code. In summary, the Plan is
14   premised on the reorganization of the Debtor to be funded by:
15      1) The Debtor intends to utilize cash reserves and draw upon its credit line with
16          TAGJET, LLC to fund Administrative, Priority, and Class 4 claims;
17      2) The Debtor will fund payments to Class 1, 3, and 7 with revenue generated
18          through continued business operations over a series of years.
19          The Debtor projects that the Plan will be consummated, and creditors will be
20   paid according to the terms of the Plan within approximately seventy-two (72) months
21   of the Confirmation Date.
22          Accompanying the Plan is the First Amended Disclosure Statement
23   (the “Disclosure Statement”) which has been approved by the Court by way of Order
24   Approving Amended Disclosure Statement for Chapter 11 Plan, Setting Deadlines,
25   and Time for Confirmation Hearing as entered by the Court on December 19, 2019
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 1   (“Order”). The deadlines concerning the Plan Confirmation Hearing, including
 2   deadline for filing of written acceptance or rejection of the Plan (balloting) has been
 3   set for February 7, 2020. All creditors entitle to vote on the Plan are strongly advised
 4   to review the Order served concurrently herewith.
 5           Certain capitalized words or terms in the Plan are defined in Section 2 hereof
 6   entitled “Definitions.”
 7     ALL CREDITORS, PARTIES IN INTEREST, AND EQUITY HOLDERS
 8      ARE STRONGLY ENCOURAGED TO CONSULT THE DISCLOSURE
 9             STATEMENT BEFORE VOTING TO ACCEPT THE PLAN
10                  II.       DEFINITIONS AND GENERAL PROVISIONS
11           For purposes of the Plan, except as otherwise expressly provided or unless the
12   context otherwise requires, all capitalized terms not otherwise defined shall have the
13   meanings ascribed to them in Section 2 of the Plan. Any term used in the Plan that is
14   not defined herein but is defined in the Bankruptcy Code or the Bankruptcy Rules,
15   shall have the meaning ascribed to that term in the Bankruptcy Code or the
16   Bankruptcy Rules. As used herein, the word “including” shall be construed to mean
17   “including, without limitation,” and the word “include” shall not imply any limitation.
18           Section 2       Definitions
19           2.1.    “Administrative Expense” means any expense in the Chapter 11 Case
20   of the type defined in section 503(b) of the Bankruptcy Code and entitled to priority in
21   Section 507(a) of the Bankruptcy Code, including all liabilities incurred by the Debtor
22   in the operation of its business during the Chapter 11 Case, the actual and necessary
23   costs and expenses of preserving the Estate, and Claims for professional services and
24   reimbursement of expenses awarded under sections 330 and 331 of the Bankruptcy
25   Code.
26

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 1          2.2.    “Allowed” as to a Claim means any Claim in the amount and of the
 2   classification set forth in the proof of such Claim that has been timely filed in the
 3   Chapter 11 Case, or in the absence of such proof, as set forth in the Debtor’s
 4   Schedules of Liabilities filed in the Chapter 11 Case, unless: (i) such Claim has been
 5   listed in the applicable Schedule as disputed, contingent, or unliquidated, in which
 6   case such Claim shall be allowed only in such amounts and of such classification as is
 7   authorized by a Final Order of the Court; (ii) such Claim is Disputed; or (iii) such
 8   Claim has been paid in full, withdrawn, released, or otherwise deemed satisfied in full.
 9          2.3.    “Assets” means all property, as defined in section 541 of the Bankruptcy
10   Code, of the Debtor’s Estate, including all the Debtor’s property interests, equity
11   interest, effects (whether personal, tangible, or intangible), and Causes of Action,
12   wherever situated as such properties exist on the Effective Date or thereafter.
13          2.4.    “Ballot” means each of the ballet forms that are distributed with the
14   Disclosure Statement to holders of Impaired under the Plan who are entitled to vote to
15   accept or reject the Plan.
16          2.5.    “Bankruptcy Code” means Title 11, United States Code, codified at 11
17   U.S.C. § 101, et seq.
18          2.6.    “Bankruptcy Rule” or “Bankruptcy Rules” refer to the Federal Rules
19   of Bankruptcy Procedure.
20          2.7.    “Berkshire” or “Berkshire Loan” means Berkshire Bank and its loan to
21   Tamarack which is secured by the 2001 Cirrus Design SR-22 Aircraft.
22          2.8.    “Chapter 11 Case” means the Debtor’s above-captioned bankruptcy
23   proceeding, which the Debtor commenced by the filing of a voluntary petition under
24   Chapter 11 of the Bankruptcy Code on the Petition Date and which is now pending in
25   the Court.
26

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 1          2.9.    “Claim” means any right to payment from the Debtor, whether or not
 2   such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,
 3   unmatured, disputed, undisputed, legal, equitable, secured, unsecured, or any other
 4   right to an equitable remedy for breach of performance if such breach gives rise to a
 5   right to payment from Debtor, whether or not such right is reduced to judgment,
 6   liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed,
 7   legal, equitable, secured, unsecured, arising by virtue of the rejection of an Executory
 8   Contract under the Plan, or otherwise. The term “Claim” includes all “claims” as
 9   defined in section 101(5) of the Bankruptcy Code.
10          2.10. “Claims Objection Deadline” has the meaning given to it in Section 8.1
11   hereof.
12          2.11. “Court” means the United States Bankruptcy Court for the Eastern
13   District of Washington.
14          2.12. “Confirmation” means the entry by the Court of the Confirmation
15   Order.
16          2.13. “Confirmation Date” means the date on which the Confirmation Order
17   is entered on the docket by the Clerk of the Court.
18          2.14. “Confirmation Hearing” means the hearing before the Court held to
19   consider Confirmation of the Plan and related matters under section 1128 of the
20   Bankruptcy Code.
21          2.15. “Confirmation Order” means the Order of the Court confirming the
22   Plan pursuant to section 1129 of the Bankruptcy Code.
23          2.16. “Creditor” means every holder of a Claim (whether or not such Claim is
24   or becomes an Allowed Claim) and includes all “creditors” as defined in section
25   101(10) of the Bankruptcy Code.
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 1           2.17. “Debtor” has the meaning given to it in Article I hereof.
 2           2.18. “Debtor-in-Possession” means the Debtor, when exercising its rights,
 3   powers and duties under section 1107(a) of the Bankruptcy Code in this Chapter 11
 4   Case.
 5           2.19. “Disbursement Agent” is the Reorganized Debtor which is designated
 6   and responsible for making disbursements to Creditors.
 7           2.20. “Disputed” as to a Claim means any Claim as to which any party in
 8   interest files an objection that has not been withdrawn or that is listed in the Debtor’s
 9   Schedules as disputed and in either case has not been resolved by a Final Order.
10           2.21. “Effective Date” means fourteen (14) days after the date of entry of the
11   Confirmation Order.
12           2.22. “Estate” means the estate created in the Chapter 11 Case under section
13   541 of the Bankruptcy Code.
14           2.23. “Executory Contract” means every contract of the Debtor, or pertaining
15   to property of the Debtor, excluding any unexpired lease of real property or
16   equipment, which the Debtor has assumed or rejected, or is obligated to assume or
17   reject, under section 365 of the Bankruptcy Code.
18           2.24. “Final Order” means an order of any court that has been entered and:
19   (i) the time for appeal from such entered order has expired with no appeal having been
20   filed timely; (ii) any appeal from such entered order has been filed, but such order has
21   not been stayed pending appeal; or (iii) any appeal from such entered order has been
22   dismissed or finally determined.
23           2.25. “General Unsecured Claims” means all Claims against the Debtor that
24   are not (a) secured Claims, (b) Claims for Administrative Expenses, (c) Priority
25   Claims, or (d) Equitable Claims.
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 1           2.26. “Impaired” as to a Claim or class of Claims means a Claim or class of
 2   Claims that is Impaired as that term is defined in section 1124 of the Bankruptcy
 3   Code.
 4           2.27. “Interests” means all shareholder interests and other ownership rights in
 5   the Debtor, including all “equity securities” of the Debtor as defined in section
 6   101(16) of the Bankruptcy Code, whether known or unknown, recognized or
 7   unrecognized, disputed or undisputed.
 8           2.28. “Petition Date” means July 1, 2019, the day on which the Debtor filed
 9   its voluntary petition with the Court commencing the Chapter 11 Case.
10           2.29. “Priority Claim” means a Claim entitled to priority pursuant to section
11   507(a) of the Code.
12           2.30. “Reorganized Debtor” means the Debtor on and after the Effective Date
13   of the Plan.
14           2.31. “TAGJET, LLC” or “TAGJET, LLC Loan Agreement” means
15   TAGJET, LLC and its secured post-petition loan, including loan agreements, with
16   Tamarack.
17           2.32. “Unimpaired” as to any Claim or class of Claims means a Claim or
18   class of Claims that is not impaired.
19            III.        CLASSIFICATION OF CLAIMS AND INTERESTS
20           Summary
21           All Claims and Interests are classified under the Plan as set forth in this Article.
22   At the time of Confirmation Hearing, any class that does not hold or contain an
23   Allowed Claim (or a Claim temporarily or provisionally Allowed by the Court for
24   voting purposes) will be deleted from the Plan with respect to voting on Confirmation
25   of the Plan. A Claim or Interest shall be deemed classified in a particular Class only
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 1   to the extent the Claim or Interest qualifies within the description of that Class and
 2   shall be deemed classified in a different Class to the extent that any remainder of such
 3   Claim qualifies within the description of such different Class.
 4

 5          Section 3.1            Unclassified Claims
 6                  Section 3.1.1         Administrative Claims
 7          Claims for Administrative Expenses are not classified in accordance with
 8   section 1123(a)(1) of the Bankruptcy Code. Claims for Administrative Expenses are
 9   Unimpaired, are not classified for purposes of voting on the Plan, and holders of
10   Administrative Expense Claims are not entitled to vote on the Plan.
11                  Section 3.1.2         Priority Claims
12          Priority Claims are not classified in accordance with section 1123(a)(1) of the
13   Bankruptcy Code. Priority Claims are Unimpaired, are not classified for purposes of
14   voting on the Plan, and holders of Priority Claims are not entitled to vote on the Plan.
15          Section 3.2            Classified Claims
16                  Section 3.2.1         Class 1 – Secured Claim of TAGJET, LLC
17          Class 1 consists of the Allowed Secured Claim of TAGJET, LLC. Pursuant to
18   the TAGJET, LLC Loan Agreement, TAGJET, LLC holds a valid, undisputed,
19   perfected first priority security interest in specific Tamarack intellectual property.
20                  Section 3.2.2         Class 2 – Secured Claim of Berkshire Bank.
21          Class 2 is comprised of the Allowed Secured Claim of Berkshire Bank.
22   Pursuant to the Loan Documents, Berkshire Bank holds a valid, undisputed, perfected,
23   first priority security interest in and lien on Tamarack’s 2001 Cirrus Design SR-22
24   Aircraft. The Aircraft has been recently sold.
25
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 1                  Section 3.2.3         Class 3 – Claim of DH Aeronautics Notes 1 and 2
 2          Class 3 is comprised of the Allowed Unsecured Claims of DH Aeronautics
 3   arising from Notes 1 & 2 which total approximately $5,304,718.00.
 4                  Section 3.2.4         Class 4 – General Unsecured Claims
 5          Class 4 is comprised of the holders of General Unsecured Claims, to the extent
 6   such Claims are Allowed, other than Class 3, 5, 6, or 7. The Debtor estimates that
 7   Allowed Class 4 Claims will total less than $171,000.
 8                  Section 3.2.5         Class 5 – Wrongful Death Claims.
 9          Class 5 is comprised of the Claims of the Wrongful Death Claims of the Estate
10   of Dale Davis, Estate of Sandra Johnson, and Estate of Wayne Estopinal, to the extent
11   such Claims are Allowed. The Debtor disputes these claims. The Class 5 claims are
12   limited, if allowed, to the limits of the Debtor’s insurance policy. Class 5 claims will
13   be litigated in the United States District Court. Class 5 Claims are more fully
14   described in the Disclosure Statement.         All Class 5 claims shall be prosecuted and
15   litigated against Tamarack before the United States District Court for the Eastern
16   District of Washington in accordance with the prior Order Granting Relief from Stay
17   and Denying Motion for Waiver of FRPB 4001(a)(3) (ECF No. 98) and Order
18   Designating Venue for Waiver of FRBP 4001(a)(3) (ECF No. 98) and Order
19   Designating Venue for Wrongful Death Claims Pursuant to 28 U.S.C. §157(b)(5)
20   (ECF No. 147).
21                  Section 3.2.6         Class 6 – Warranty and Grounding Claims.
22          Class 6 is comprised of warranty and grounding claims asserted by Tamarack’s
23   customers arising from or related to Winglet product or Airworthiness Directives.
24   Class 6 Claims are disputed by the Debtor. The total amount of known and alleged
25   Class 6 Claims total $1,948,986.
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 1                  Section 3.2.7         Class 7 – Claim of Nicholas Guida Note.
 2          Class 7 is comprised of the Allowed Unsecured Claim of Nicholas Guida in the
 3   amount of $19,900.00.
 4                  Section 3.2.8         Class 8 - Shareholder Interests.
 5          Class 8 is comprised of the existing Shareholder Interests in the Debtor. The
 6   recognized Stock or Interest holders of the Debtor are defined by shares of stock as
 7   held by individuals and entities, identified in Appendix C attached hereto.
 8   Shareholders of Class 8 shall retain their stock ownership in Tamarack post
 9   Confirmation. Shareholders of Class 8 shall not be entitled to receive any distribution
10   under the Plan or from the reorganized Debtor until Classes 1 -7 Allowed Claims have
11   been paid in full. Shareholders are restricted from selling or transferring their shares
12   without first providing ninety (90) days advance notice to Tamarack. Tamarack shall
13   have the first right of refusal to purchase Tamarack stock. If Tamarack chooses not to
14   exercise this first right of refusal, all other non-selling shareholders shall have a right
15   of first refusal to purchase the offered shares on a pro rata basis.
16          IV. TREATMENT OF ALLOWED CLAIMS AND INTERESTS.
17          The following is the description of the treatment proposed for the Claims and
18   Interests by each Class of Creditors, Interest Holders, and holders of Administrative
19   Expense Claims and Priority Claims of the Estates as classified in the Plan. The Plan
20   specifies and determines the treatment of all Claims against the Estate and Interests in
21   the Debtor of whatever character, whether contingent or liquidated, and whether
22   allowed by the Court pursuant to § 502(h) of the Bankruptcy Code. However, only
23   those Claims that are or become Allowed Claims under the Plan will receive any
24   distribution in accordance with the terms of the Plan. Interest holders will not receive
25   any distributions under the Plan.
26

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 1          Section 4.1            Unclassified
 2                  Section 4.1.1         Treatment of Administrative Expense Claims
 3          Allowed Claims for Administrative Expenses shall be paid in full on the later of
 4   (1) the Effective Date (or as soon thereafter as reasonably practicable, but in no event
 5   later than 30 days after the Effective Date), (2) the date on which such Claim becomes
 6   an Allowed Claim (or as soon thereafter as reasonably practicable, but in no event
 7   later than 30 days after such Claim is Allowed), (3) the date that payment of such
 8   Allowed Claim is due under ordinary business terms, or (4) as agreed between the
 9   Debtor and the holder of any Administrative Expense Claim. Administrative Claims
10   are Unimpaired, and the holders thereof are not entitled to vote on the Plan.
11

12                  Section 4.1.2         Treatment of Priority Claims
13          The Holders of the Priority Claims shall receive, in full satisfaction, settlement,
14   release, extinguishment and discharge of such Claims: (A) the amount of their unpaid
15   Allowed Priority Claims in cash within thirty (30) days after the later of (i) the
16   Effective Date, or (ii) the date on which such Claim becomes Allowed, which is a
17   period not exceeding five (5) years after the assessment of the tax on which such
18   Allowed Claim is based, totaling the principle amount of such Claim plus simple
19   interest on any outstanding balance from the Effective Date calculated pursuant to 11
20   U.S.C. § 511; or (B) such other treatment on such other terms and conditions as may
21   be agreed upon in writing by the holder of any such Allowed Claim and the Debtor or
22   the Reorganized Debtor, as the case may be, or as the Court may order. The Debtor or
23   the Reorganized Debtor shall have the right, in its sole discretion to prepay in full or
24   in part, at any time, any Allowed Priority Claim without premium or penalty.
25   Priority Claims are Unimpaired and are not entitled to vote on the Plan.
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 1          Section 4.2            Classified Claims
 2                  Section 4.2.1         Treatment of Class 1 – TAGJET, LLC
 3          TAGJET, LLC is the sole holder of the Allowed Class 1 Claim. The Class 1
 4   secured claim of TAGJET, LLC shall be paid in the ordinary course of the Debtor’s
 5   business in accordance with the terms and conditions of the TAGJET, LLC Loan
 6   Agreement. TAGJET, LLC shall retain its security interest in all collateralized
 7   intellectual property under its perfected security agreement. The Allowed Class 1
 8   Claim is Unimpaired and is conclusively deemed to have accepted the Plan
 9   pursuant to section 1129(f) of the Bankruptcy Code; therefore, this Class is not
10   entitled to vote on the Plan.
11

12                  Section 4.2.2         Treatment of Class 2 – Berkshire Bank
13          Berkshire Bank is the sole Holder of the Allowed Class 2 Claim. The Class
14   secured claim of Berkshire Bank shall be paid in the ordinary course of the Debtor’s
15   business in accordance with the term and conditions of the Berkshire Bank Loan
16   Documents. Berkshire Bank shall retain its security interest in the Debtor’s 2001
17   Cirrus Design SR-22 Aircraft. The Aircraft has been sold and Berkshire Bank’s
18   allowed claim has been paid in full, subject to Bankruptcy Court approve of sale and
19   distribution of sale proceeds. Berkshire Bank shall be deem paid in full and its claims
20   fully satisfied with the Aircraft sale proceeds once approved by the Court. The
21   Allowed Class 2 Claim is Impaired, and Berkshire Bank is entitled to vote to
22   accept or reject the Plan.
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 1                  Section 4.2.3               Treatment of Class 3 – DH Aeronautics Notes 1
 2   and 2.
 3            The Class 3 unsecured claims of DH Aeronautics shall receive on account of its
 4   Allowed Claims in full satisfaction, release, and discharge of such Claims, the full
 5   amount of such allowed claims associated and arising from Notes 1 and 2 in the
 6   estimated amount of $5,304,718.00. The Allowed Claim of Class 3 shall become a
 7   secured claim by specific assets of the Debtor and paid over a period of eight years,
 8   with interest.     The Allowed Class 3 claims shall be memorialized by a secured
 9   consolidated promissory note detailed in Exhibit “A” hereto and incorporated herein.
10   The material terms are summarized as follows:
11                   a. Initially, interest at 5.25% per annum, payable annually.
12                   b. Interest only payable on the first and second anniversaries of the
13                      Effective Date of the Plan;
14                   c. Beginning after the second anniversary of the Effective Date, interest
15                      will increase to 7.00% per annum;
16                   d. On the third through eighth anniversaries of the Effective Date, the
17                      Debtor shall pay equal annual installments of principle and interest.
18                      There will be no pre-payment penalty for earlier payments on the
19                      secured consolidated promissory note.         The Maturity Date will
20                      coincide with the eighth anniversary of the Effective Date.
21                   e. In the event of default in payment of the obligations under the
22                      secured consolidated promissory note, and if not cured within 30
23                      days, the default interest rate shall be 10% per annum on all unpaid
24                      principle. If not cured within 30 days, the DH Aeronautics shall have
25                      the right to exercise state law remedies to foreclose upon the
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 1                      collateral which secures the debt obligation.
 2                   f. The secured consolidated promissory note payment obligation shall
 3                      be secured by specific intellectual property assets of the Debtor as
 4                      detailed in Exhibit “A”.
 5    The Class 3 Claims are impaired and entitled to vote to accept or reject the
 6    Plan.
 7                  Section 4.2.4         Treatment of Class 4 – General Unsecured Claims
 8          The Holders of all Allowed Class 4 Claims shall receive, on account of their
 9   Allowed Class 4 Claims, in full satisfaction, release and discharge of such Claims, the
10   full amount of such unpaid Allowed Claim. Payment of such Claims shall be made
11   (1) on the Effective Date (or as soon thereafter as reasonably practicable, but in no
12   event later than 30 days after the Effective Date), (2) on the date on which such Claim
13   becomes an Allowed Claim (or as soon thereafter as reasonably practicable, but in no
14   event later than 30 days after such Claim is Allowed), (3) the date that payment of
15   such Allowed Claim is due under ordinary business terms, or (4) as agreed between
16   the Debtor and the holder of any General Unsecured Claims. Class 4 Claims are
17   Unimpaired and are conclusively deemed to have accepted the Plan pursuant to
18   section 1129(f) of the Bankruptcy Code; therefore, this Class is not entitled to
19   vote on the Plan.
20                  Section 4.2.5         Treatment of Class 5 – Wrongful Death Claims
21          The holders of the Allowed Class 5 Claims shall receive, in full satisfaction,
22   settlement, release, extinguishment and discharge of such Claims, the full amount of
23   such Allowed Claims, to the extent of insurance coverage and policy proceeds
24   available to pay said claims. Class 5 shall not receive any other form of payment
25   under the Plan or from the Debtor. All Class 5 claims shall be prosecuted and
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 1   litigated against Tamarack before the United States District Court for the Eastern
 2   District of Washington in accordance with prior Order Granting Relief From Stay and
 3   Denying Motion for Waiver of FRBP 4001(a)(3) (ECF No. 98) and Order Designating
 4   Venue for Wrongful Death Claims Pursuant to 28 U.S.C. §157(b)(5) (ECF No. 147).
 5   Class 5 Claims are Impaired and are entitled to vote to accept or reject the Plan.
 6                  Section 4.2.6         Treatment of Class 6 – Warranty and Grounding
 7                                        Claims.
 8          The Holders of all Allowed Class 6 Warranty and Grounding Claims shall
 9   receive on account of their Allowed Class 6 Claims, in full satisfaction, release, and
10   discharge of such Claims, the full amount of their Allowed Claim up to the extent of
11   insurance coverage and policy(s) available to pay said Claims.
12          To the extent a Class 6 Claim is an allowed claim is covered by applicable
13   insurance policies of Tamarack, Allowed Class 6 Claims shall be paid in full within
14   60 days after the Claim is allowed. In the event an allowed Class 6 claim is not
15   covered or paid under the Debtor’s insurance policies, then the allowed Class 6 claim
16   shall be paid over a period of 36 months in equal quarterly installments, with interest
17   at the rate of 5.25% per annum, until paid in full. Class 6 Claims are Impaired and
18   are entitled to vote to accept or reject the Plan.
19                  Section 4.2.7         Treatment of Class 7 – Nicholas Guida Note.
20          Nicholas Guida the sole holder of the Allowed Class 7 Claim shall receive, in
21   full satisfaction, settlement, release, extinguishment and discharge of such Claim, the
22   full amount of such Allowed Claim, with interest. The Allowed Class 7 Claim of
23   Nicholas Guida shall be paid in full, with post-petition interest at 5.25% per annum,
24   within 30 days of the payment in full of Class 3 Claims. Nicholas Guida convertible
25   Note, originally convertible, is no longer convertible to Tamarack stock. The Class 7
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 1   Claim in Impaired and is entitled to vote to accept or reject the Plan.
 2                  Section 4.2.8         Treatment    of   Class   8    –     Equity        Interests
 3   (Shareholders).
 4          Class 8 consists of all Shareholder Interest in the Debtor, whether disputed or
 5   undisputed, contingent or non-contingent, in existence prior to the entry of the
 6   Confirmation Order. All pre-petition and pre-Confirmation Shareholder Interests of
 7   the Debtor will be affirmed as of the Confirmation Date. Class 8 Shareholders of the
 8   post Confirmation Debtor shall not be entitled to receive any distribution on account
 9   of their Interests (shares) until after Classes 1 through 7 holding allowed claims have
10   been paid in full. Furthermore, Class 8 Shareholders may not transfer, sell, or assign
11   their shares without 90 days prior notice to Tamarack. Tamarack shall have the first
12   right of refusal to purchase any such shares. In the event that Tamarack chooses not to
13   exercise this first right of refusal, all other non-selling shareholders shall have a right
14   of first refusal to purchase the offered shares on a pro rata basis. The Class 8
15   Interests held are claimed by Insiders of the Debtor and are not entitled to vote
16   to accept or reject the Plan.
17

18                         Section 4.3          Confirmation Pursuant to Section 1129(b) of
19                                              the Bankruptcy Code
20          The Debtor will request Confirmation of the Plan, as it may be modified from
21   time to time, under section 1129(b) of the Bankruptcy Code with respect to any Class
22   of Claims or Interests that rejects, or is deemed to have rejected, the Plan.
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 1          V.            IMPLEMENTATION OF THE PLAN
 2          Section 5.1            Funding and Implementation
 3          The Debtor’s Plan will be funded and Implemented as described below:
 4                  1.      Funded by TAGJET, LLC Loan. The Debtor will utilize its
 5   available operating line of credit, as needed and available, to fund allowed
 6   Administrative Claims, Priority Claims, Class 3, Class 4, Class 6, and Class 7 Claims.
 7                  2.      Sale of Property. The Debtor has sold its 2001 Cirrus Design SR-
 8   22 Aircraft to fund payment of the Class 2 allowed claim of Berkshire Bank. The sale
 9   and distribution of proceeds of sale are subject to Bankruptcy Court approval.
10                  3.      Cash Reserves/Business Operation. As of September 15, 2019, the
11   Debtor holds the sum in excess of $ 339,068 on deposit with Washington Trust Bank.
12   The money referenced above has been derived through ongoing business operations.
13   The Debtor will dedicate cash reserves and future money derived through business
14   operations to fund, in part, Class 3, 6, and 7 allowed claims.
15          Section 5.2            Exemption from Certain Transfer Taxes and Recording Fees
16          Pursuant to section 1146(a) of the Bankruptcy Code, any transfers from the
17   Debtor to the Reorganized Debtor or to any other person or entity pursuant to the Plan,
18   or any agreement regarding the transfer of title or ownership of any of the Debtor’s
19   personal property. recording tax, conveyance fee, sales tax, intangible or similar tax,
20   mortgage tax, stamp tax, real estate transfer tax, mortgage recording tax, Uniform
21   Commercial Code filing, securities regulation, or other similar tax, governmental
22   assessment, or regulation.
23          Section 5.3            Effectuating Documents; Further Transactions
24          The Debtor and Reorganized Debtor are authorized to execute, deliver, file,
25   and/or record such contracts, instruments, releases, and other agreements or
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 1   documents, and take any such actions as each of them may deem necessary or
 2   appropriate to effectuate and further evidence the terms and conditions of the Plan, or
 3   to otherwise comply with applicable law.
 4          Section 5.4            Further Authorization
 5          The Reorganized Debtor shall be entitled to seek such orders, judgments,
 6   injunctions, and rulings as it deems necessary to carry out the intentions and purposes,
 7   and to give full effect to the provisions, of the Plan.
 8

 9          VI.          DISTRIBUTION UNDER THE PLAN
10          Section 6.1            Disbursement Agent
11          The Reorganized Debtor, with assistance of counsel, will be the Disbursement
12   Agent under the Plan.
13          Section 6.2            Conditions to Disbursement
14          The Disbursement Agent may, as a condition to distribution of funds, require a
15   holder of a Claim to return and cancel instruments respecting such Claim or to execute
16   separate releases of any Claims provided for under the Plan. Upon receipt of full
17   payment of its Allowed Claim, any secured Creditor shall release its lien and/or
18   effectuate the cancellation of instruments evidencing such lien, and shall cooperate
19   with reasonable requests that it may receive from an escrow or title insurance
20   company to provide confirmation of the payoff amount of its Allowed Claims and its
21   agreement to release of its lien is conditioned only upon payment of its Allowed
22   Claim.
23          Section 6.3            Administrative / Priority Claims Distribution
24          All Allowed Administrative Expense Claims and Priority Claims shall be paid
25   in full in accordance with Article IV hereof. To the extent Administrative Expense
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 1   Claims and Priority Claims are asserted against the Debtor prior to the Effective Date
 2   but have not been allowed as of the Effective Date, sufficient funds shall be reserved
 3   to pay said Claims in the amount stated on the proof of claim or application for
 4   approval of the Claim.
 5          Section 6.4            Classified Claims Distribution
 6                  Section 6.4.1         Class 1 Claim
 7          The Allowed Class 1 Claim of TAGJET, LLC shall be paid in accordance with
 8   the terms and conditions of its Loan Agreement.
 9                  Section 6.4.2         Class 2 Claim
10          The Allowed Class 2 Claim of Berkshire Bank shall continue to be paid
11   monthly in accordance with the Loan Agreement. The 2001 Cirrus Design SR-22
12   Aircraft has been sold, subject to Bankruptcy Court approval. Upon Bankruptcy Court
13   approval of sale, Berkshire Bank shall be paid in full.
14                  Section 6.4.3         Class 3 Claim
15          The Allowed Class 3 Claim shall become secured and paid overtime as
16   described in and in accordance with Article IV hereof.
17                  Section 6.4.4         Class 4 Claims
18          The Class 4 Claims of General Unsecured Creditors shall be paid in accordance
19   with Article IV hereof. Distributions to holders of Class 4 Claims shall be made after
20   Administrative Expense Claims and Priority Claims have been paid in full. Class 4
21   Claims shall be paid with funds available within 30 days of the Effective Date.
22                  Section 6.4.5         Class 5 Claims
23          The Class 5 Claims Wrongful Death Claims, to the extent allowed, shall be paid
24   in accordance with insurance policy proceeds.
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 1                  Section 6.4.6         Class 6 Claims
 2          The Class 6 Claims known as Warranty and Grounding claims shall be paid in
 3   full and in accordance to the extent Allowed, shall be paid in accordance with Article
 4   IV hereof. To the extent covered by insurance. Class 6 claims will be paid in full with
 5   insurance policy proceeds. To the extent not covered by insurance, Class 6 shall be
 6   paid in full, with interest over 36 months.
 7                  Section 6.4.7         Class 7 Claim
 8          The Class 7 Claim of Nicholas Guida is allowed and shall be paid in accordance
 9   with Article IV hereof.
10                  Section 6.4.8         Class 8
11          The holders of Interests in the Debtor shall not receive any distribution under
12   the Plan. However, such person or entity shall retain their Interest in the Reorganized
13   Debtor.
14          Section 6.5            Distributions of Cash
15          Any distribution of cash made by the Reorganized Debtor pursuant to the Plan
16   shall, at the Reorganized Debtor’s option, be made by check, drawn on a domestic
17   bank, or by wire transfer from a domestic bank.
18          Section 6.6            Delivery of Distributions
19          The distribution to any holder of an Allowed Claim shall be made by the
20   Disbursement Agent: (i) at the address set forth on the proof of claim filed by such
21   holder; (ii) at the address set forth in any written notices of address change delivered
22   to the Debtor or Reorganized Debtor after the date of any related proof of claim; (iii)
23   at the address reflected in the Schedules if no proof of claim has been filed and the
24   Debtor or Reorganized Debtor has not received a written notice of change of address;
25   (iv) if the holder’s address is not listed in the Schedules, at the last known address of
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 1   such holder according to the Debtor’s books and records; or (v) if any holder’s
 2   distribution is returned as undeliverable, no further distributions to such holder shall
 3   be made unless and until the Reorganized Debtor is notified of such holder’s current
 4   address, at which time all missed distributions will be made to such holder without
 5   interest. All distributions returned to the Reorganized Debtor and not claimed within
 6   six (6) months of return shall be irrevocably retained by the Reorganized Debtor
 7   notwithstanding any federal or state escheat laws to the contrary.                 Upon such
 8   reversion, the Claim of any holder or such holder’s successors, with respect to such
 9   property, shall be discharged and forever barred notwithstanding any federal or state
10   escheat laws to the contrary.
11          Section 6.7            Unclaimed Funds and Interests
12          For a period of two (2) months from the date of the disbursement, the Plan
13   Disbursement Agent shall retain any distribution hereunder which remains unclaimed.
14   Thereafter, the Claims giving rise to the right to distribution of such unclaimed funds
15   will be deemed disallowed and any unclaimed funds, net of expenses, will be
16   redistributed pro rata to the remaining Creditors, except that (i) no redistribution will
17   be made to any creditor whose pro rata share of the funds to be distributed does not
18   exceed $50, and (ii) no further distribution shall be made if the total amount of
19   unclaimed funds does not exceed $500 plus the costs of distribution. If the amount of
20   unclaimed funds does not exceed $500 plus the costs of distribution, such funds will
21   be retained by the Plan Disbursement Agent as reimbursement for expenses in
22   administering such unclaimed funds.
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 1          VII. PROVISIONS REGARDING CORPORATE GOVERNANCE OF
 2                  REORGANIZED DEBTOR
 3                  Section 7.1           Post-Petition Professionals and Management
 4                  Section 7.1.1         The Debtor
 5          The Debtor will continue to operate and conduct its business affairs pending its
 6   reorganization as the Debtor-in-Possession.         The Debtor shall have the full and
 7   complete authority to implement and consummate the provisions of this Plan.
 8                  Section 7.1.2         The Reorganized Debtor/Management.
 9          Except as otherwise expressly provided in the Plan, in the Confirmation Order,
10   Loan Documents, and Security Documents/Interests on the Effective Date, the
11   Reorganized Debtor will be vested with all the property of the Estate free and clear of
12   all Claims, liens, encumbrances, charges, and other interests of Creditors and
13   claimants. As of the Effective Date, the Reorganized Debtor may hold, use, dispose,
14   and otherwise deal with such property and conduct its affairs, free of any restrictions
15   imposed by the Bankruptcy Code or by the Court, other than those restrictions
16   expressly imposed by the Plan, the Confirmation Order, Loan Documents, or the
17   documents necessary or required as part of the implementation of the Plan. On and
18   after the Effective Date, the Reorganized Debtor shall be free to operate without
19   supervision by the Court or the consent of any person or entity.
20          Post Confirmation the Debtor shall be managed by the Leadership Team of:
                     ▪ Nicholas Guida – Chief Executive Officer/Founder/Chairman of
21
                        the Board
22                   ▪ Jacob Klinginsmith – President
                     ▪ Danny Hiner – Chief Operating Office
23
                     ▪ Lisa Kassa – Treasurer/Controller
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 1          The Board of Directors Officers shall be :
                    ▪ Nicholas Guida, Chairman of The Board
 2
                    ▪ Justin Ryan, Vice-Chairman of the Board
 3                  ▪ Jere Kovach, Secretary of the Board
                    ▪ John McCann
 4
                    ▪ John Snedden
 5                  ▪ Ian Bannister
                    ▪ David Cox
 6
                    ▪ David McClenahan
 7                  ▪ Jacob Klinginsmith
 8          The Board of Directors and Leadership Team shall remain in place for at least
 9   one year from the Effective Date. The next annual Shareholders’ meeting shall not be
10   held until one year after the Effective Date.
11                  Section 7.1.3         Professionals
12          The Reorganized Debtor shall retain the following professionals post-
13   Confirmation:
                 •         Munding, P.S. – Attorneys
14
                 •         Moss Adams, LLP – Accountants
15               •         Lee & Hayes, P.C. – Intellectual Property
16               •         Pivot Consulting Associates - Consulting
17          To the extent professionals are required to sell the Debtor’s intellectual

18   property, the Debtor may employ such persons or entities without further Court

19   approval.

20                  Section 7.1.4         Payment of Professionals

21          Pre-Effective Date professional fees and expenses shall be paid based upon

22   their Allowed Claims or fees approved by Court Order. Post-Effective Date

23   professional fees and expenses shall be paid directly by the Reorganized Debtor from

24   available Assets. As of the date of filing of the Plan, the Estate has not paid

25   professional fees and expenses. As of the date of filing of the Plan, the Debtor

26   anticipates or has accrued the following professional fees and expenses for which

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 1   authorization for payment will be sought:
 2                         •   Munding, P.S. - $138,500.00
                           •   Moss Adams, LLP - $10,000.00
 3
                           •   Lee & Hayes, P.C. - $100,000.00
 4                         •   Pivot Consulting Assoc. - $34,000.00
 5          Section 7.2            Administrative Claims Bar Date
 6          Unless otherwise agreed by the Debtor, all requests for payment of
 7   Administrative Expense Claims other than current obligations must be served and
 8   filed with the Court no later than thirty (30) days after the Effective Date. Except as
 9   otherwise allowed by the Court, any Administrative Expense Claim that is not served
10   and filed by such date will be forever barred.           After approval of the final fee
11   application of the Chapter 11 professionals by the Court for services provided and
12   costs incurred during the course of administration of the Chapter 11 Case, the Chapter
13   11 professionals will be required to submit further fee applications to the Court
14   pending final consummation of the Plan.
15                      VIII. PROCEDURES FOR TREATING/RESOLVING
16                                        DISPUTED CLAIMS
17          Section 8.1            Objections to Claims
18          The Reorganized Debtor shall be entitled to object to Claims, provided
19   however, that the Debtor and Reorganized Debtor shall not be entitled to object to
20   claims (i) that have been allowed by a Final Order entered by the Court prior to the
21   Effective Date, or (ii) that are Allowed by the express terms of the Plan. Any
22   objections to Claims must be filed by the Effective Date, unless such deadline is
23   extended by the Court for cause (the “Claims Objection Deadline”).
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 1            Section 8.2          No Distributions Pending Allowance
 2            Except as otherwise provided herein, no distributions will be made with respect
 3   to any portion of a Claim unless and until (i) the Claims Objection Deadline has
 4   passed and no objection to such Claim has been filed, or (ii) any objection to such
 5   Claim has been settled, withdrawn, or overruled, pursuant to a Final Order of the
 6   Court.
 7            Section 8.3          Estimation of Claims
 8            The Debtor or the Reorganized Debtor, as the case may be, may at any time
 9   request that the Court estimate any contingent or unliquidated Claim pursuant to
10   section 502 of the Bankruptcy Code regardless of whether the Debtor or Reorganized
11   Debtor has previously objected to such Claim or whether the Court has ruled on any
12   such objection. The Court will retain jurisdiction to estimate any Claim at any time
13   during litigation concerning an objection to any Claim, including during the pendency
14   of any appeal relating to any such objection. If the Court estimates any contingent or
15   unliquidated Claim, that estimated amount will constitute either the Allowed Claim or
16   the maximum cap of such claim, as determined by the Court. If the estimated amount
17   constitutes a maximum cap on such Claim, the Debtor or Reorganized Debtor may
18   elect to pursue any supplemental proceeding to object to any ultimate payment on
19   such Claim.
20            Section 8.4          Resolution of Claims Objections
21            On or after the Effective Date, the Reorganized Debtor shall have the authority
22   to compromise, settle, otherwise resolve, or withdraw any objections to claims
23   without approval of the Court.
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 1           IX.    DISALLOWED CLAIMS AND DISALLOWED INTERESTS
 2          The filing of the Plan and its submission to persons or entities holding Claims
 3   shall constitute an objection to all Claims that are not allowed under section 502 of the
 4   Bankruptcy Code. On and after the Effective Date, the Debtor and the Reorganized
 5   Debtor will be fully and finally released from any obligation on any holder of a
 6   disallowed Claim. The Confirmation Order, except as otherwise provided herein,
 7   shall constitute a Final Order: (i) disallowing all Claims to the extent such Claims are
 8   not allowable under any provision of sections 105 or 502 of the Bankruptcy Code,
 9   including time-barred Claims and (ii) disallowing or subordinating any Claims for
10   equitable reasons.
11

12            X.      EXECUTORY CONTRACTS AND UNEXPIRED LEASES
13          Section 10.1           Pre-Petition Contracts and Leases
14          All the Loan Documents shall be deemed assumed by the Reorganized Debtor.
15   All other unexpired leases and Executory Contracts shall be deemed rejected by the
16   Debtor as of the Effective Date, except unexpired leases or Executory Contracts or
17   identified by the Debtor:
18                         • Lease
                                o KSZT LLC Lease dated May 1, 2018; Commencing on
19
                                   July1, 2018 for a term of 7 years expiring on July 1,
20                                 2025; Leased property is 2021 & 1939 Industrial Drive,
                                   Sandpoint, ID 83864.
21
                           • Deposit Agreements
22
                               o Order Deposit Contract: Industrial Smoke and Mirrors
23                                Inc. Attn.: Andrew Garvis; Dated October 2, 2013;
                                  $5,000.
24
                               o Order Deposit Contract: Dolphin Capital Holdings, Inc.
25                                Attn: Steven S. Myers; Dated July 2, 2015; $13,600.
                               o CJP Show Special Pricing Deposit Agreement; Nascosto
26

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 1                                   Services LLC, Attn: Ryan Samples; Dated September 14,
                                     2015; $10,000.
 2
                                   o CJP Show Special Pricing Deposit Agreement: KP
 3                                   Equipment, Attn: Larry Pribyl; Dated September 14,
                                     2015; $10,000.
 4
                                   o CJP Show Special Pricing Deposit Agreement: Alpha
 5                                   Juliet Consulting, LLC on behalf of AJ Capital Holding,
 6
                                     LLC, Attn: Alex Gutierrez, Dated September 18, 2015:
                                     $10,000.
 7                                 o Order Deposit Contract: Hotel Alpha LLC, Attn: William
 8
                                     Hettinger; Dated October 5, 2015; $10,000.
             These contracts and leases are assumed on the Effective Date as part of this
 9
     Plan to the extent they are not assumed by prior order. All the TAGJET, LLC Loan
10
     Documents shall be deemed assumed by the Reorganized Debtor. Any Claims filed
11
     pursuant to a rejected pre-petition Executory Contract shall be subject to objection by
12
     the Debtor and to consideration by the Court. If any such Claim becomes an Allowed
13
     Claim, it shall be a General Unsecured Claim.
14
             Upon entry of the Confirmation Order and all defaults under such assumed
15
     Executory Contracts and unexpired leases shall be deemed to have been and the
16
     Debtor / Reorganized Debtor shall be deemed to have provided adequate assurance of
17
     future performance under the terms of the Plan.
18
             Section 10.2          Post-Petition Contracts and Leases
19
             All post-petition leases and Executory Contracts are assumed as of the Effective
20
     Date.
21
                    XI.     CONTINUED PROSECUTION OF LITIGATION
22
             Post-Confirmation, the Reorganized Debtor shall be authorized to continue,
23
     pursue, and resolve any and all legal claims and Causes of Action.
24

25
26

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 1                XII. EFFECT OF PLAN ON CLAIMS AND INTERESTS
 2          Section 12.1           Revesting of Assets
 3          Except as otherwise expressly provided in the Plan, on the Effective Date the
 4   Reorganized Debtor will be vested with all the property of the Estate, subject to the
 5   Allowed Claims of Creditors determined by agreement or Final Order to hold secured
 6   Claims against Assets, which includes, for avoidance of doubt, TAGJET, LLC, and
 7   Berkshire Bank. As of the Effective Date, the Reorganized Debtor may hold, use,
 8   dispose, and otherwise deal with such property and conduct its affairs, subject to
 9   restrictions imposed by the Bankruptcy Code, the Court, the Plan, the Confirmation
10   Order, or the other documents entered into in connection with the Plan.
11          Section 12.2           Discharge of the Debtor
12          In accordance with section 1141(d)(1) of the Bankruptcy Code, entry of the
13   Confirmation Order shall provide the Reorganized Debtor with a discharge of any
14   Claim against the Debtor, including: (i) any Claim of any kind that arose at any time
15   before the entry of the Confirmation Order; and (ii) any Claim of any kind described
16   in section 502(g) of the Bankruptcy Code. Following entry of the Confirmation
17   Order, every holder of a Claim or Interest shall be precluded from asserting against
18   the Debtor, the Reorganized Debtor, and/or any of the Debtor’s assets, any further
19   Claim or Interest based upon any document, instrument, act, omission, transaction, or
20   other activity of any kind or nature that occurred prior to the Confirmation Date,
21   except as provided in the Plan.
22          Section 12.3           Release
23          The Debtor and its members, officers, employees, agents, attorneys, financial
24   advisors, other professionals, and the Disbursement Agent as agents of the Debtor
25   shall not be liable to any claimant or other party with respect to any action,
26

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 1   forbearance from action, decision, or exercise of discretion taken during the period
 2   from the date appointed until the Effective Date in connection with:                      (i) the
 3   implementation of any of the transactions provided for or contemplated in the Plan; or
 4   (ii) the administration of the Plan or the assets and property to be distributed pursuant
 5   to the Plan, other than for willful misconduct, gross negligence or breach of the
 6   Debtor’s, the Reorganized Debtor’s or the Agent’s obligations under the Plan.
 7   Nothing in this paragraph is intended to or shall modify the rights of claimants that
 8   have direct claims against such persons, whether by guaranty or other contract, and
 9   nothing herein shall impair or modify the rights of non-Debtor persons or entities with
10   respect to other non-Debtor persons or entities. The Order closing this case shall
11   provide for a release of the Debtor’s representatives, management, and all
12   professionals employed by the Estate from any liability associated with the
13   performance of duties to the Estate, except for any liability arising from the gross
14   negligence, willful misconduct or breach of the Debtor’s, the Reorganized Debtor’s or
15   the Agent’s obligations under the Plan.
16          Section 12.4           Set-offs
17          The Debtor may, but is not be required to, set-off against any Claim, and the
18   payments or other distributions to be made on that Claim pursuant to the Plan, claims
19   of any nature whatsoever that the Debtor may have against such holder.
20   Notwithstanding anything to the contrary, neither the failure to set-off against a Claim
21   nor the allowance of any Claim hereunder shall constitute a waiver or release by the
22   Debtor or the Reorganized Debtor of any such claim it may have against such holder.
23          Section 12.5           The Effective Date
24                  Section 12.5.1        Binding Effect
25          On the Effective Date, the provisions of the Plan shall be binding on the Debtor,
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 1   the Reorganized Debtor, the Estate, all holders of Claims against and Interests in the
 2   Debtor and the Estate, and all other parties-in-interest whether such parties hold
 3   Impaired and whether such parties have accepted the Plan.
 4                   Section 12.5.2       Effect on Automatic Stay
 5          Except as provided otherwise in the Plan, on the Effective Date, the automatic
 6   stay imposed by section 362(a) of the Bankruptcy Code shall terminate.
 7                   Section 12.5.3       Filing of Reports
 8          The Reorganized Debtor shall file all reports and pay all fees required by the
 9   Bankruptcy Code, Bankruptcy Rules, U.S. Trustee guidelines, and the rules and orders
10   of the Court.
11                           XIII. RETENTION OF JURISDICTION
12          Section 13.1           Retention of Jurisdiction
13          Subsequent to the Effective Date, the Court shall have and retain jurisdiction for
14   the following purposes:
15          •        To adjudicate objections concerning the allowance, priority, or
16                   classification of Claims or Interests and any subordination thereof, and to
                     establish a date(s) by which objections to Claims must be filed to the
17                   extent not established herein;
18
            •        To liquidate the amount of any Disputed, contingent, or unliquidated
19                   Claim, to estimate the amount of any Disputed, contingent or
20
                     unliquidated Claim, and to establish the amount required to be withheld
                     from any distribution;
21
            •        To resolve all matters related to the rejection, assumption, and/or
22
                     assignment of any Executory Contract or unexpired lease of the Debtor;
23
            •        To hear and rule upon all Causes of Action commenced and/or pursued
24                   by the Debtor and/or the Reorganized Debtor with exception of Class 5
25                   Claims;
26

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 1          •       To hear and rule upon all applications for professional compensation;
 2
            •       To remedy any defect or omission, or reconcile any inconsistency in the
 3                  Plan, as may be necessary to carry out the intents and purposes of the
                    Plan;
 4

 5          •       To adjudicate controversies arising out of the administration of the Estate
                    or implementation of the Plan;
 6

 7
            •       To make such determinations and enter such orders as may be necessary
                    to effectuate all the terms and conditions of the Plan, including the
 8                  distribution of funds from the Estate and the payment of Claims;
 9
            •       To determine such other matters as may be provided for in the Plan or the
10                  Confirmation Order as may be authorized by or under the provisions of
                    the Bankruptcy Code;
11

12          •       To determine any controversies, actions, or disputes that may arise under
                    the provisions of the Plan, or the rights, duties or obligations of any
13                  person or entity under the provisions of the Plan; and
14
            •       To enter a final decree.
15
            Section 13.2           Alternative Jurisdiction
16
            If the Court is found to lack jurisdiction to resolve any matter, then the United
17
     States District Court for the Eastern District of Washington shall hear and determine
18
     such matter. If the United States District Court for the Eastern District of Washington
19
     does not have jurisdiction, then the matter may be brought before any court having
20
     jurisdiction with regard thereto.
21
            Section 13.3           Substantial Consummation
22
            The Plan shall be deemed substantially consummated upon the filing of a final
23
     report and request for final Order by the Reorganized Debtor through counsel
24
     certifying that substantially all duties imposed upon the Reorganized Debtor under the
25
     Plan have been completed.
26

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 1          Section 13.4           Final Decree
 2          The Court may, upon application of the Reorganized Debtor, at any time on or
 3   after the Effective Date, enter a final decree in this case. In such event, the Court may
 4   enter an Order closing the Chapter 11 Case pursuant to section 350 of the Bankruptcy
 5   Code, provided, however, that: (i) the Reorganized Debtor shall continue to have the
 6   rights, powers, and duties set forth in the Plan; (ii) any provision of the Plan requiring
 7   the absence of an objection shall no longer be required, except as otherwise ordered
 8   by the Court; and (iii) the Court may from time to time reopen the Chapter 11 Case if
 9   appropriate for any of the following purposes: (a) administering Assets; (b)
10   entertaining any adversary proceedings, contested matters, or applications the Debtor
11   brought or will bring with regard to the liquidation of Assets and the prosecution of
12   Causes of Action; (c) enforcing or interpreting the Plan or supervising its
13   implementation; or (d) allowing for the entry of an Order of Discharge upon
14   completion of Plan payments.
15                           XIV. MISCELLANEOUS PROVISIONS
16          Section 14.1           Modification of the Plan
17          The Debtor may modify the Plan pursuant to section 1127 of the Bankruptcy
18   Code and as herein provided, to the extent allowed by law. Subject to the limitations
19   contained herein, the Debtor may modify the Plan in accordance with this paragraph,
20   before or after Confirmation, without notice or hearing, or after such notice and
21   hearing as the Court deems appropriate, if the Court finds that the modification does
22   not materially and adversely affect the rights of any parties-in-interest which have not
23   had notice and an opportunity to be heard with regard thereto. In the event of any
24   modification on or before Confirmation, any votes to accept or reject the Plan shall be
25   deemed to be votes to accept or reject the Plan as modified, unless the Court finds that
26

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 1   the modifications materially and adversely affect the rights of parties-in-interest which
 2   have cast said votes. The Debtor reserves the right in accordance with section 1127 of
 3   the Bankruptcy Code to modify the Plan at any time before the Confirmation Date.
 4          Section 14.2           Allocation of Plan Distributions Between Principal and
 5                                 Interest
 6          To the extent that any Allowed Claim entitled to a distribution under the Plan is
 7   composed of indebtedness and accrued, but unpaid, interest thereon, such distribution
 8   shall, to the extent permitted by applicable law, be allocated for United States federal
 9   income tax purposes to the principal amount of the Claim first and then, to the extent
10   the consideration exceeds the principal amount of the Claim, to the portion of the
11   Claim representing accrued but unpaid interest.
12          Section 14.3           Applicable Law
13          Except to the extent that the Bankruptcy Code or the Bankruptcy Rules are
14   applicable, the rights and obligations arising under the Plan shall be governed by the
15   laws of the State of Washington.
16          Section 14.4           Preparation of Estate’s Returns and Resolution of Tax
17                                 Claims
18          The Debtor or Reorganized Debtor shall file all tax returns and other filings
19   with governmental authorities and may file determination requests under section
20   505(b) of the Bankruptcy Code to resolve any Disputed Claim relating to taxes with a
21   governmental authority.
22          Section 14.5           Headings
23          The headings of the Articles and sections of the Plan have been used for
24   convenience only and shall not limit or otherwise affect the meaning thereof.
25
26

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 1          Section 14.6           Revocation of the Plan
 2          The Debtor reserves the right, unilaterally and unconditionally, to revoke and/or
 3   withdraw the Plan at any time prior to entry of the Confirmation Order, and upon such
 4   revocation and/or withdrawal, the Plan shall be deemed null and void and of no force
 5   and effect.
 6          Section 14.7           Severability of Plan Provisions
 7          If, prior to entry of the Confirmation Order, any term or provision of the Plan is
 8   held by the Court to be illegal, unenforceable, impermissible, invalid, void, or
 9   otherwise constitute grounds for denying Confirmation of the Plan, the Court shall
10   have the power to interpret, modify, or delete such term or provision (or portions
11   thereof) to make it valid and enforceable to the maximum extent practicable,
12   consistent with the original purpose of the term or provision held to be illegal,
13   unenforceable, impermissible, invalid, or void, and such term shall then be operative
14   as interpreted, modified, or deleted.            Notwithstanding any such interpretation,
15   modification, or deletion, the remainder of the terms and provisions of the Plan shall
16   in no way be affected, impaired, or invalidated by such interpretation, modification, or
17   deletion.
18          Section 14.8           No Bar to Suits
19          Except as otherwise provided in the Plan, neither the Plan nor Confirmation
20   hereof shall operate to prevent the Debtor or Reorganized Debtor from commencing
21   any legal action against any holder of a Claim or any individual, corporation,
22   partnership, trust, venture, governmental unit, or any other legal entity, whether such
23   legal action arose prior to or after the Confirmation Date, whether or not the existence
24   of such legal action was disclosed in the Disclosure Statement filed by the Debtor in
25   connection with the Plan, and/or whether or not any payment was made or is made on
26

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 1   account of any Claim.
 2          Section 14.9           Conflicts
 3          If provisions of the Disclosure Statement and provisions of the Plan conflict, the
 4   terms of the Plan shall govern.
 5          Section 14.10          Notice
 6   Notice, requests, and demands for payment shall be addressed and sent postage prepaid
 7   or delivered to the undersigned counsel for the Debtor.
 8

 9          Section 14.11          Default
10          Any Creditor may notify the Disbursement Agent in writing of a default under
11   the Plan. In the event written notice of a default is transmitted to the Disbursement
12   Agent, the Disbursement Agent or any party in interest will have thirty (30) days to
13   cure the alleged default. Absent cure or a prior order granting that party relief, the
14   aggrieved party may seek relief from the Court.
15          The Plan has been approved for submission to the Court on this 31st day of
16   December 2019.
                             Submitted By:      MUNDING, P.S.
17

18
                                                /s/ John D. Munding
19
                                                JOHN D. MUNDING, WSBA #21734
20                                              Attorney for Tamarack Aerospace Group, Inc.
21
                                                Approved by:
22
                                                /s/ Jacob Klinginsmith
23
                                                President, Tamarack Aerospace Group, Inc.
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